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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No, 08-13141 (KJC)
Debtors. (Jointly Administered)
Docket Ref. No. 1334

ORDER APPROVING STIPULATION RESOLVING MOTION
OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
FILED ON JUNE 10, 2009, FOR AN ORDER AUTHORIZING THE
EXAMINATION OF ROBERT R. MCCORMICK TRIBUNE FOUNDATION
AND THE CANTIGNY FOUNDATION AND THE PRODUCTION OF
DOCUMENTS PURSUANT TO BANKRUPTCY RULE 2004

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AND NOW, thisl) day of August, 2009, the attached stipulation is hereby

APPROVED in its entirety. ~\ , \ |
The Hbnorable Kevin J. Carey” )
Chief United States Bankru Judge

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax idehtification nurfiber, are: Tribune
Company (0355), 435 Production Company (8865), 5800 Sunset Productions Inc. (5510); Baltimore News tT Networks, Inc. (8258);
California Community News Corporation (5306); Candle Holdings Corporation (5626), Channel 20, Inc, (7399); Channel 39, Inc, (5256),
Channe! 40, Inc. (3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434), Chicago Tribune
Company (3437), Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee,
Inc. (1579); Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc, (9221),
Direct Mail Associates, Inc. (6121); Distribution Systems of America, Inc. (3811), Eagle New Media Investments, LLC (6661); Eagle
Publishing Investments, LLC (6327); foresalebyowner.com corp. (0219); ForSeleByOwner.com Referral Services, LLC (9205), Fortify
Holdings Corporation (5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo., Inc, (7416); Heart &
Crown Advertising, Inc. (9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications,
LLC (2352); InseriCo, Inc. (2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479), JuliusAir Company Tl, LLC,
KJAH Inc. (4014); KPLR, Inc. (7943), KSWB Inc. (7033), KTLA Inc. (3404); KWGN Inc. (5347) Los Angeles Times Communications LLC
(1324); Los Angeles Times Intemational, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416), Magic T Music Publishing Company
(6522); NBBF, LLC (0893); Neocomm, Inc. (7208), New Mass. Media, Inc. (9553), New River Center Maintenance Association, Inc. (5621),
Newscom Services, Inc. (4817); Newspapers Readers Agency, Inc. (7335), North Michigan Production Company (5466), North Orange
Avenue Properties, Inc. (4056), Gak Brook Productions, Inc. (2598); Orlando Sentinel Communications Company (3775), Patuxent Publishing
Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc.
(7931); Signs of Distinction, Inc. (3603), Southem Connecticut Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612),
Stemweb, Inc. (4276); Sun-Sentinel Company (2684), The Baltimore Sun Company (6880); The Daily Press, inc. (9368), The Hartford
Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337); Times Mirror Land and Timber Company (7088),
Times Mirror Payroll Processing Company, Inc. (4227), Times Mirror Services Company, Inc. (1326); TMLH2, inc. (0720), TMLS I, Inc.
(0719); TMS Entertainment Guides, Inc. (6325), Tower Distribution Company (9066); Towering T Music Publishing Company (2470);
Tribune Broadcast Holdings, Inc. (4438) Tribune Broadcasting Company (2569), Tribune Broadcasting Holdeo, LLC (2534); Tribune
Broadcasting News Network, Inc. (1088), Tribune California Properties, Inc. (1629); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232), Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537), Tribune Finance Service
Center, Inc. (7844), Tribune License, Ine. (1035), Tribune Los Angeles, Inc. (4522), Tribune Manhattan Newspaper Holdings, Inc, (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc, (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278), Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634),
Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2973); ValuMaii,
Inc. (9512); Virginia Community Shoppers, LLC (4025), Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCWN LLC
(5982); WDCW Broadcasting, Inc. (8300), WGN Continental Broadcasting Company (9530); WLYVI Inc, (8074); WPIX, Inc. (0191); and
WTXX Inc. (1268). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.

{698.001-WO002129.}

